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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 1:24-cr-00320-RMR

UNITED STATES OF AMERICA,

        Plaintiff,

v.

     1. DERRICK PATRICK BERNARD, JR.,
            a/k/a “Phoenixx Ugrilla,”

     2. ASHLEY DANIELLE BLACKCLOUD,
            a/k/a Ashley Hernandez, a/k/a “Trinity Black Cloud,”

     3. DEANNA CRYSTAL WEST,
            a/k/a “Vital Sweetz,” a/k/a “Sage West,”

        Defendants.


                               PROTECTIVE ORDER


        THIS MATTER comes before the Court on the Government’s [Unopposed]

Motion for Protective Order. Pursuant to Fed. R. Crim. P. 16(d)(1) and for good

cause shown, IT IS HEREBY ORDERED AS FOLLOWS:

        1.     The term “Protected Discovery Material” means documents created by

the Federal Bureau of Investigation (FBI), including reports and memoranda;

Colorado Springs Police Department (CSPD) reports, audio recordings of interviews,

expert reports, financial records, surveillance camera videos and photographs,

government records, law enforcement affidavits, information seized pursuant to

search warrants or court process, any personal identifying information contained

within materials, and all other information contained in such materials.


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      2.     Use of Protected Discovery Material. The defendants and defense

counsel shall only use the Protected Discovery Material to prepare a defense in this

case. The “case” includes: the investigation, pretrial hearings (including

preliminary hearing and detention hearing), pretrial motions practice, trial

preparation, trial, sentencing, and appeal. The Protected Discovery Material shall

not be used for any other purpose, or in connection with any other proceeding,

without further order of the Court.

      3.     Access to Protected Discovery Material. Defense counsel shall not

disclose the Protected Discovery Material to any person or entity other than the

defendants, agents of defense counsel who are directly assisting in the

representation of the defendants (including any office staff of defense counsel), any

expert witnesses retained by the defendants, any investigators retained by

defendants, and other persons to whom the parties jointly authorize disclosure

(collectively, “authorized persons”).

      4.     Limits on Disclosure. Authorized persons who review or retain

Protected Discovery Material in the manner described above must ensure that the

Protected Discovery Material, any necessary copies, or their contents thereof, are

not relinquished or disseminated, physically or electronically, to any non-authorized

person without further order of the Court.

      5.     Notice of Protective Agreement. Defense counsel will inform all

authorized persons having access to the Protected Discovery Material of the




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contents of the Court’s protective order, and its terms will be binding upon those

persons.

       6.       Leave of Court. Defense counsel will obtain leave of the Court before

disseminating Protected Discovery Material to anyone other than authorized

persons.

       7.       Control of Protected Discovery Material. Defense counsel, including

staff, paralegals, legal assistants, and secretaries, shall remain in control of the

Protected Discovery Material, including any copies thereof, until the final resolution

of this case.

       8.       Copies. Protected Discovery Material shall only be copied by defense

counsel, including office staff and agents of defense counsel, and any expert

witnesses retained by defense counsel, to the extent necessary to prepare the

defense of the case. Potential witnesses and their counsel, and the defendants, may

be shown copies of the materials as necessary to prepare the defense, but may not

retain copies without prior permission of the parties.

       9.       Storage of Protected Discovery Material. The Protected Discovery

Material is to be stored in a manner that protects it from unauthorized disclosure.

       10.      Additional Representatives. Any counsel of record who is retained or

appointed to represent a defendant, or who is later relieved of representation of a

defendant, is bound by this Order unless excused from its terms by further order of

the Court.




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      11.    Resolution of Case. Upon resolution of all stages of this case, defense

counsel shall destroy or return to the United States the Protected Discovery

Material and all copies made thereof, and certify the disposition of any such

materials to the Court and the United States. The obligations imposed by this

Protective Agreement survive the final resolution of this case, and the Court shall

retain jurisdiction after such final determination for the limited purpose of

enforcing the provisions of this Protective Agreement until and unless the Court

decides otherwise.

      12.    Copies of the Protected Discovery Material filed with any Court must

be filed under an appropriate level of restriction to retain the confidential nature of

the materials unless consent to filing in the public record is obtained from an

attorney for the Government or by leave of Court.

      13.    Judicial Proceedings. The restrictions set forth in this Order do not

apply to documents once they have become part of the public court record, including

documents that have been received in evidence at other trials, nor do the

restrictions in this Order limit defense counsel in the use of Protected Discovery

Material in judicial proceedings in this case.

      14.    Nothing contained in this Order shall preclude any party from

applying to a Court for further relief or for modification of any provision hereof.

           21st DAY OF NOVEMBER 2024.
DATED THIS ____

                                 BY THE COURT

                                 ____________________________________
                                 HON. REGINA M. RODRIGUEZ
                                 UNITED STATES DISTRICT JUDGE

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